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                           UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION


 DEMONTRAY HUNTER, by and through his next
 friend, Rena Hunter; RUSSELL D. SENN, by and
 through his next friend, Irene Senn; TRAVIS S.
 PARKS, by and through his next friend, Catherine
 Young; VANDARIUS S. DARNELL, by and
 through his next friend, Bambi Darnell; FRANK
 WHITE, JR., by and through his next friend, Linda
 White; MARCUS JACKSON, by and through his
 next friend Michael P. Hanle; TIMOTHY D.
 MOUNT, by and through his next friend, Dorothy
 Sullivan; HENRY P. MCGHEE, by and through his           CASE NO. 2:16-cv-00798-MHT-CSC
 next friend, Barbara Hardy, individually and on
 behalf of all others similarly situated; and the
 ALABAMA         DISABILITIES       ADVOCACY                    CLASS ACTION FOR
 PROGRAM,                                                       DECLARATORY AND
                                                                INJUNCTIVE RELIEF
       Plaintiffs,

 v.

 LYNN T. BESHEAR, in her official capacity as
 Commissioner of the Alabama Department of
 Mental Health,

       Defendant.


                JOINT STATEMENT ON CONTENT OF STATUS REPORT

       The named Plaintiffs as class representatives, the Alabama Disabilities Advocacy Program,

and Lynn T. Beshear, Commissioner of the Alabama Department of Mental Health, jointly submit

this statement outlining the content of the joint status report that the Parties will submit for the

Court’s consideration on April 1, 2019. See Order Directing Filing of Statement on Content of

Status Report and Status Report, ECF No. 120.

       The Parties’ forthcoming joint status report will address the following issues:
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1.    A detailed explanation of the reasons for the ADMH Commissioner’s failure to achieve

      compliance with the timelines specified in the Consent Decree for the provision of (a)

      outpatient evaluations; (b) inpatient evaluations; and (c) admissions into Taylor Hardin for

      competency restoration treatment, including the following:

      a.     A detailed, concrete explanation of each of the barriers to compliance with the

             timelines for (i) outpatient mental evaluations, (ii) inpatient mental evaluations, and

             (iii) the provision of competency restoration treatment;

      b.     A detailed, concrete explanation of why each of the identified barriers yielded the

             degree of noncompliance that currently exists (i.e., why the identified barriers

             individually and together resulted in a rate of noncompliance that is nearly double

             the Year 1 benchmark);

      c.     Why the reported failure of class members’ criminal defense attorneys to provide

             the ADMH Commissioner with information regarding class members’ prior mental

             health   treatment   explains    and/or   excuses    the   ADMH      Commissioner’s

             noncompliance with the timelines for the provision of outpatient mental evaluations

             and/or inpatient mental evaluations.

      d.     Why the operation of sixteen community forensic beds will ensure that the ADMH

             Commissioner is able to achieve compliance with the Year 1 benchmark timelines

             for the provision of inpatient mental evaluations and competency restoration

             treatment.

2.    What specific actions the ADMH Commissioner will take to achieve compliance with the

      Year 1 benchmark timelines specified in the Consent Decree for the provision of (a)




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      outpatient evaluations; (b) inpatient evaluations; and (c) admissions into Taylor Hardin for

      competency restoration treatment within 90 days.

3.    What evidence confirms that the actions outlined in response to Questions 2(a), 2(b), and

      2(c) are adequate to remedy the ADMH Commissioner’s current noncompliance with the

      Year 1 benchmark timelines for the provision of court-ordered psychiatric services set forth

      in the Consent Decree.

4.    If the ADMH Commissioner agrees to engage a compliance consultant to assist her in

      preparing and implementing a remedial plan to comply with the Year 1 benchmark timelines

      in the Consent Decree for the provision of outpatient mental evaluations, inpatient mental

      evaluations, and competency restoration treatment, the names of three consultants proposed

      by the ADMH Commissioner to serve as a compliance consultant.

5.    If the ADMH Commissioner agrees to engage a compliance consultant to assist her in

      preparing and implementing a remedial plan, the scope of the compliance consultant’s

      engagement, e.g., the specific tasks and deliverables that will be included in the consultant’s

      engagement and the expected timeline for development of the remedial plan.

6.    If the ADMH Commissioner contends that the ADMH Commissioner can devise and

      implement a remedial plan that will remedy the ADMH Commissioner’s current

      noncompliance without engaging a compliance consultant, the ADMH Commissioner

      should provide a detailed description of the following:

      a.     The specific actions that the ADMH Commissioner will take to ensure the

             completion of outpatient mental evaluations within 54 days of the ADMH

             Commissioner’s receipt of a court order for same, within the date-of-receipt order

             specified in Section VI.1.D of the Consent Decree;


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 b.    The specific actions that the ADMH Commissioner will take to ensure the

       completion of inpatient mental evaluations within 54 days of the ADMH

       Commissioner’s receipt of a court order for same, within the date-of-receipt order

       specified in Section VI.1.D of the Consent Decree;

 c.    The specific actions that the ADMH Commissioner will take to ensure the admission

       of persons found incompetent to stand trial into Taylor Hardin or Bryce Hospital for

       competency restoration treatment within 54 days of the ADMH Commissioner’s

       receipt of a court order for same, within the date-of-receipt order specified in Section

       VI.1.D of the Consent Decree;

 d.    Whether ADMH’s existing staff has the expertise and availability to devise and

       undertake the actions specified in Question 6.a, 6.b, and 6.c given the other demands

       on their time associated with operating the agency;

 e.    How the ADMH Commissioner will shift internal capacity in order to ensure that

       the staff who have been unable to undertake the steps to necessary achieve

       compliance with the Year 1 benchmark timelines in the Consent Decree have the

       capacity to implement the remedial actions outlined in response to Questions 6.a,

       6.b, and 6.c above.

 f.    If the ADMH Commissioner contends that the hiring of a facilities director who will

       be involved in supervising the ADMH’s efforts to achieve compliance with the

       Consent Decree obviates the need for the engagement of a compliance consultant,

       what specific authority and duties will the facilities director have in connection with

       satisfying the Year 1 benchmark timelines.




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       g.      The specific timelines for the implementation of a remedial plan to achieve

               compliance with the Year 1 benchmarks for the provision of outpatient mental

               evaluations, inpatient mental evaluations, and competency restoration treatment.

       WHEREFORE the Parties respectfully submit that their joint status report on April 1, 2019

will contain the material set forth above.

Dated: February 14, 2019               Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that I have caused a true and correct copy of the foregoing

to be served on the counsel of record listed below by filing same with the Clerk of Court via the

CM/ECF system this 14th day of February, 2019.

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